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                EXHIBIT B
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                                                       U.S. Department of Justice

                                                       United States Attorney
                                                       Southern District of New York



                                                       The Silvio J. Mollo Building
                                                       One Saint Andrew’s Plaza
                                                       New York, New York 10007




                                                       March 12, 2019

BY ECF

Honorable Edgardo Ramos
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007

       Re:     United States v. Mark S. Scott,
               S6 17 Cr. 630 (ER)

Dear Judge Ramos:

         The Government submits this brief reply letter in response to the letter submitted by
defense counsel and dated March 11, 2019 (the “Response Letter”), regarding the scheduling of
trial in this matter.

        As set forth in the Government’s prior letter (the “March 8 Letter”), there are three primary
reasons that trial in this matter is not practicable in July 2019: (1) a trial that soon will not afford
adequate time for a thorough review of the potentially privileged discovery materials in this case,
and litigation connected to that review; (2) there will be significant challenges to the Government
in ensuring that all of the Government’s witnesses—many of whom are located overseas—will be
available to testify at a trial in July; and (3) the primary FBI case agent is unavailable. The
defendant’s Response Letter does not address items (2) and (3) at all.

        The Response Letter also underscores some of the contentious issues regarding the
privilege review matters that will undoubtedly require protracted litigation. Specifically, as noted
in the Response Letter, the defendant continues to maintain that he is entitled to withhold the list
of the defendant’s clients and attorneys (the “Attorney-Client List”) from the prosecution team.
The resolution of this issue will undoubtedly require litigation before the Court—as noted in the
March 8 Letter, the information contained in the Attorney-Client List is non-privileged, and
withholding of that information will prevent the privilege team from even providing a privilege
log to the prosecution team. (See March 8 Letter at 2). Further, the defendant has provided the
Government’s privilege team with an overly broad list of attorneys and clients, which will
necessitate extensive litigation on these issues. The protracted litigation necessitated by the
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defendant’s over-broad Attorney-Client List will likely also require the Court to review a
substantial volume of documents in camera, adding additional time to resolve these issues and
severely impeding the prosecution team’s review of the evidence. Furthermore, as noted in the
March 8 Letter, the Government intends to file a crime fraud motion, which will require additional
litigation as well, and potentially additional in camera review. There is no feasible way in which
to address all of these issues in time for a July trial. 1

        Based on the foregoing, the Government respectfully requests that the Court schedule this
matter for trial on a mutually agreeable date in September 2019, or as soon thereafter as practicable.
Furthermore, the Government is fully available at a convenient date for the Court to appear at a
conference and address these issues further.


                                                        Very truly yours,

                                                        GEOFFREY S. BERMAN
                                                        United States Attorney

                                                 By:            /s/
                                                        Christopher J. DiMase / Nicholas Folly/
                                                        Julieta V. Lozano
                                                        Assistant United States Attorneys /
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Cc:     David Garvin, Esq.
        James Nobles, Esq.




1
  It bears noting that while the defendant continues to object to providing relevant information to
assist in the privilege review, it is his burden to establish in the first instance that such a privilege
exists. In re Grand Jury Proceedings, 219 F.3d 175, 182 (2d Cir. 2000) (quoting United States
v. Int’l Bhd. of Teamsters, 119 F.3d 210, 214 (2d Cir. 1997)).

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